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 1                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
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 3                                         )
          United States of America,        ) File No. 21-cr-228
 4                                         )           (DWF-ECW)
                  Plaintiffs,              )
 5                                         )
          vs.                              ) TESTIMONY OF OFFICER
 6                                         ) ADAM EVANS
          Marques Dwell Armstrong, Jr.,    ) Courtroom 7C
 7                                         ) St. Paul, Minnesota
                                           ) February 15, 2023
 8                Defendant.               ) 10:32 a.m.

 9       -----------------------------------------------------------

10                    BEFORE THE HONORABLE DONOVAN W. FRANK
                       UNITED STATES DISTRICT COURT JUDGE
11                                   (TRIAL)

12       APPEARANCES:
          For the Plaintiff:           United States Attorney's Office
13                                     Benjamin Bejar, AUSA
                                       Albania Concepcion, AUSA
14                                     300 South 4th Street
                                       Suite 600
15                                     Minneapolis, Minnesota 55415

16         For the Defendant:          Office of the Federal Defender
                                       Manny Atwal, ESQ.
17                                     300 South Fourth Street
                                       Suite 107 US Courthouse
18                                     Mpls, MN 55415

19         Court Reporter:             Lynne M. Krenz, RMR, CRR, CRC
                                       Suite 146
20                                     316 North Robert Street
                                       St. Paul, Minnesota 55101
21

22

23           Proceedings reported by certified stenographer;
         transcript produced with computer.
24

25



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 1                                 I N D E X

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 3
         ADAM EVANS
 4         Direct Examination By Mr. Bejar                                       4
           Cross-Examination By Ms. Atwal                                       37
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 8
         GOVERNMENT EXHIBITS                                                 REC'D
 9         21                                                                   17
           22                                                                   17
10         22A                                                                  17

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                 1                             P R O C E E D I N G S

                 2                                  IN OPEN COURT

                 3                                 (JURY PRESENT)

                 4            (Defendant present)

                 5            (10:32 a.m.)

                 6                  THE COURT:    May all be seated.           Thank you.       You

                 7       may proceed, counsel, with your next witness as soon as the

                 8       jury is ready.

                 9                  MR. BEJAR:    Thank you, Your Honor.

             10                     The United States calls Firearms Enforcement

             11          Officer Adam Evans.

             12                     THE COURT:    If you want to step forward, sir, to

             13          the front of the -- right in front of the large screen here

             14          what we call the witness box.

             15                     THE WITNESS:     Yes, Your Honor.

             16                     THE COURT:    And then before you step in if you'd

             17          want to raise your right hand, please.

             18                     Do you swear the testimony you shall give relative

             19          to this case now under consideration shall be the truth and

             20          nothing but the truth, so help you God?

             21                     THE WITNESS:     I do.

             22                     THE COURT:    There's a couple steps up there.

             23                     And if you want to go up and have a seat in the

             24          chair.   Then as I tell every witness, between sliding that

             25          chair close to the microphone, and you can also move the



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                 1       microphone because it's not fastened, you'll have to be

                 2       quite close to the mic, otherwise it doesn't pick you up.

                 3                   If you would please state your full name and spell

                 4       your last name.

                 5                   THE WITNESS:     My name is Adam Evans, E-V-A-N-S.

                 6                   THE COURT:    You may inquire, counsel.

                 7                   MR. BEJAR:    Thank you, Your Honor.

                 8                                    (Adam Evans)

                 9                                DIRECT EXAMINATION

             10          BY MR. BEJAR:

             11          Q.   Good morning, Mr. Evans.         How are you employed?

             12          A.   I'm employed from the Bureau of Alcohol, Tobacco,

             13          Firearms and Explosives.       I work in the firearms and

             14          ammunition technology division and I am -- my official title

             15          is firearms enforcement officer.

             16          Q.   What are the ATF's firearms, ammunition technology

             17          division located?

             18          A.   We are located in Martinsburg, West Virginia.

             19          Q.   And the firearms and ammunition technology division is

             20          lovingly referred to as the FATD sometimes; is that right?

             21          A.   Yes, it is.

             22          Q.   F-A-T-D?

             23          A.   Yes.

             24          Q.   How long have you worked as a firearms enforcement for

             25          ATF with FATD?



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                 1       A.   I've been a firearms enforcement officer for

                 2       approximately two years.

                 3       Q.   What is the role and function of the firearms and

                 4       ammunition technology division?

                 5       A.   Our division is the primary technical division for the

                 6       Bureau of Alcohol, Tobacco, Firearms and Explosives.

                 7                    We provide technical analysis of firearms and

                 8       ammunition to make classifications under federal law.

                 9       Q.   Excuse me.    Are there certain ways particular firearms

             10          are defined and classified under federal law?

             11          A.   There are certain ways.        We primarily classify firearms

             12          under the Gun Control Act of 1968 and the National Firearms

             13          Act under -- I'm sorry, of 1934.

             14          Q.   As part of your duties, and training, and

             15          responsibilities as a firearms enforcement officer, excuse

             16          me, Your Honor, are you specifically familiar with those

             17          laws, regulations, terms and definitions as they apply to

             18          those firearms?

             19          A.   I am.   We focus on those laws and regulations on a daily

             20          basis and apply them to firearms of many different types.

             21          Q.   How long have you been with ATF?

             22          A.   For approximately eight years.         Before I was a firearms

             23          enforcement officer I was a firearms industry operations

             24          investigator.     I did about five-and-a-half years as an

             25          investigator going out and doing compliance inspections of



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                 1       firearms, dealers, and manufacturing facilities.

                 2       Q.   ATF is the federal agency that is authorized under

                 3       federal law with regulating the firearms industry; is that

                 4       correct?

                 5       A.   Yes, it is.

                 6       Q.   So what are your primary duties and responsibilities as

                 7       a firearms enforcement officer, FEO?

                 8       A.   As an FEO we classify firearms under specific types of

                 9       naming conventions for making them applicable to the laws.

             10                     For instance, we breakdown the Gun Control Act to

             11          see if it is a firearm or if it is not.           As the Gun Control

             12          Act requires interstate nexus, that's a primary role to

             13          establish the understanding of where the firearms came from

             14          and if it transferred across state lines.

             15                     For the National Firearms Act, we primarily focus

             16          on eight firearms.       And they are broken down as a firearm

             17          into different subcategories.         For instance, machine gun or

             18          shotgun, short-barreled shotgun, and short-barreled rifle.

             19          Q.   Do you have any prior law enforcement or military

             20          experience?

             21          A.   Prior to working for the ATF I was a bomb technician for

             22          the Department of Homeland Security.          And before that I was

             23          in the United States Marine Corps for eight years, serving

             24          as an explosive disposal technician.

             25          Q.   Could you tell the jury about any specialized training



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                 1       you have received as an FEO?

                 2       A.   As an FEO, we have pretty rigorous, rigorous training of

                 3       about 800 hours of on-the-job training.         That consists of

                 4       doing a lot of research, historical papers, understanding

                 5       and functioning different firearms, and really breaking down

                 6       how firearms function.     And at the end of all of that

                 7       on-the-job training and time spent researching into the

                 8       different firearms.

                 9                  We go through a certification panel interview and

             10          sit down with a -- some of the senior FEOs who just ask very

             11          elaborate questions to understand the extreme depth of

             12          firearms and my understanding.

             13          Q.   Have you attended any armorer's courses?

             14          A.   I have.   As an FEO I've attended around six or seven

             15          armorer's courses under different platforms.

             16                     Primarily I attend one for a Glock firearm.              I

             17          attended one for an AR-15 or an M-16 firearm.           One for a

             18          silencers and other various firearm types.

             19          Q.   What do you learn as these armorer's courses,

             20          specifically like for Glock?

             21          A.   The armorer's courses are hosted by the manufacturing

             22          companies most of the time.

             23                     The armorer's courses are designed to teach you

             24          the intricacies of the firearm itself and how they are meant

             25          to function and designed to function.         They are also



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                 1       teaching you how to disassemble them properly, look for

                 2       discrepancies or worn parts that need to be replaced or if

                 3       there is any malfunctions, how to replace it and fix what

                 4       needs to be fixed and then reassemble them again.

                 5       Q.   Have you ever toured any firearms factories?

                 6       A.   I have toured numerous factors as an FEO and I did many

                 7       compliance inspections as an industry operations

                 8       investigator.    Around probably 100 different facilities to

                 9       see how they are made.

             10          Q.   Based on your training and experience, are you familiar

             11          with machine guns specifically?

             12          A.   I am very familiar with machine guns.           As an FEO I've

             13          done over a 100 different exhibit evaluations that were

             14          machine guns.

             15                     And prior to that, in my time in the Marine Corps

             16          I maintained and disassembled around 300 machine guns or so

             17          that was maintained by our unit overseas while deployed to

             18          Iraq.

             19          Q.   Fair to say as an ATF FEO you are intimately familiar

             20          with a variety of firearms, including especially machine

             21          guns, how they operate and function, how they're classified

             22          and defined under federal laws and regulations?

             23          A.   Yes, sir.

             24          Q.   What kinds of firearms do you receive as an FEO for

             25          examination in testing and classifying?



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                 1       A.     Our primary firearm that we receive for identification

                 2       and classification is typically a machine gun.            Secondary to

                 3       that would be silencers.      And then there's a few other types

                 4       that we get periodically, but the primary is machine gun.

                 5       Q.     And specifically have you had the opportunity to

                 6       inspect, examine, and classify Glock firearms with a switch?

                 7       A.     Yes.   I've done classifications on over 100 exhibits

                 8       that were Glock switches and roughly 70 different cases that

                 9       were multiple types of machine guns.

             10          Q.     Now you've mentioned the term "Glock switch."          Could you

             11          please tell the jury just generally what a switch is and

             12          what it does.

             13          A.     A Glock switch or a Glock chip is a common term used to

             14          describe a machine gun conversion device.

             15                        A machine gun conversion device is any part or

             16          combination of parts that you can put together to change a

             17          semi-automatic firearm into a machine gun.

             18                        Typically, a Glock switch maintains or consists of

             19          three different components, a housing, a selector switch and

             20          a leg.    Those three pieces combined work together to change

             21          that firearm from a semi-automatic firearm into a machine

             22          gun.

             23          Q.     And why is it commonly referred to as a switch?           Is it

             24          because of one of those components that you mentioned?

             25          A.     The selector switch can usually be pushed from one side



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                 1        to the other to switch between semi-automatic or automatic

                 2        fire.

                 3        Q.   That's the intended function of it?

                 4        A.   That is the intended function, however most of the time

                 5        it does not function that way.

                 6        Q.   Are these Glock switches commercially available and sold

                 7        in gun shops and stores?

                 8        A.   They are not commercially available or sold.           Most of

                 9        the time they are imported from overseas for whoever is the

             10           cheapest bidder to get them into the United States.

             11                        They can be made within the United States.

             12           Primarily you'll see them in hobbyist houses or something as

             13           they are illegally made.     They are -- can be 3D printed or

             14           milled by a machinist who has the proper machine to cut out

             15           the metal.

             16           Q.   Can you legally purchase a Glock fireman with a switch

             17           installed from a gun shop or commercial dealer?

             18           A.   No, you cannot.    The firearms -- the machine gun ban

             19           that was put in place in 1986 made it where no person,

             20           unlicensed person, can purchase a conversion part like that

             21           and apply it into your firearm to make a machine gun.

             22           Q.   Does Glock itself manufacture firearms with switches

             23           installed?

             24           A.   Glock has never made a Glock switch.           It is a name that

             25           was adopted by the people who wanted to put them onto



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                 1        Glock-type firearms.    And all of such switches or conversion

                 2        devices are contraband because they are not made.

                 3        Q.   So if it doesn't come from the manufacturer and you

                 4        can't get it from a gun shop, it's got to be installed after

                 5        the firearm was manufactured and sold, correct?

                 6        A.   That is correct.

                 7        Q.   Talk a little bit about your training and experience,

                 8        and knowledge about how well these aftermarket switches are

                 9        manufactured to function properly.

             10           A.   The typical conversion device that we see come in,

             11           primarily a Glock switch, is the number one type conversion

             12           device that we do classifications on.

             13                      They are very poorly made.       Again, some of them

             14           can be 3D printed, which raises their own issues when you're

             15           dealing with 3D printing.     However in this case, we're not

             16           referring to 3D printed conversion device.

             17                      The metal components are often made by different

             18           manufacturers, the housing would be made at one facility,

             19           the leg would be made at another, and the selector switch

             20           would be made at another.

             21                      They're imported into the country usually in

             22           separate packages and that way they're not tracked by

             23           customs as they come in and then whenever the end user gets

             24           ahold of them, they have to compile the couple units

             25           together to make Glock switches out of those three



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                 1        components.

                 2                   Those three components are not regulated by OEM

                 3        specifications.     They are not made by specific manufacturers

                 4        that meet a criteria held to a certain standard.            They are

                 5        often poor quality.     They get worn out very quickly and

                 6        they're made with very cheap metal.

                 7        Q.   So is it common for a Glock switch to fire in automatic

                 8        mode even if it's selected in semi-automatic mode?

                 9        A.   That's very common.

             10                      A lot of times they're intended to be having a

             11           selector switch available for semi-automatic but oftentimes

             12           that switch, the selector switch, will actually shift while

             13           firing and it will deviate between semi-automatic or

             14           automatic on an infrequent basis.

             15                      Oftentimes, I would say over 75 percent of the

             16           time, my cases have resulted in full automatic fire, whether

             17           it be in semi-automatic mode or automatic fire.

             18           Q.   Did you receive evidence at your worksite, at the

             19           firearms, ammunition, technology division, to inspect and

             20           classify in this case?

             21           A.   Yes, I did.

             22                      MR. BEJAR:    May I approach, Your Honor?

             23                      THE COURT:    You may.

             24           BY MR. BEJAR:

             25           Q.   I've placed in front of you Government Exhibit 18.              Do



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                 1        you recognize that?

                 2        A.    I do.   This is the box that I received for

                 3        classification.      It has my signature on the evidence

                 4        transmittal tag saying that I took custody of it on

                 5        January 23rd of 2023.

                 6        Q.    And if you can open the box.

                 7                      Do you recognize that as the firearm that you

                 8        received and examined?

                 9        A.    I do.   This is the firearm that I identified and

             10           examined, as well as the extended magazine inside the box.

             11           Q.    And when you received the firearm, it had the -- it had

             12           a switch installed; is that correct?

             13           A.    That is correct.

             14           Q.    Is this generally in the same condition that you

             15           received it when you -- is it generally in the same

             16           condition as when you received it for examination, excuse

             17           me?

             18           A.    Yes, it is.

             19           Q.    So tell the jury generally what you did at the start of

             20           your examination and inspection of this firearm.

             21           A.    When I first receive evidence, the first thing that I do

             22           is make sure that it is safe to handle and make sure that

             23           there is no live ammunition inside of it, that way nothing

             24           happens while doing a visual inspection.

             25                         After I do a visual inspection to make sure it's



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                 1        safe to handle, I do an overall view of the firearm trying

                 2        to identify any manufacturer's markings or characteristics

                 3        where I can identify what type of firearm this is.

                 4                      While doing an overall examination of this, I

                 5        identified that it was a -- excuse me, a Glock-type firearm

                 6        made in Austria imported by Glock, Inc., in Smyna, Georgia,

                 7        and it is a model 26 which shoots a 9x19 caliber round.

                 8                      On the rearward side of the slide I noticed that

                 9        it did not have a standard Glock backplate and it had been

             10           modified to accept a machine conversion device on the back

             11           of the firearm.

             12           Q.   What did you -- after you did this sort of overall

             13           inspection what did you do next in terms of the physical

             14           exam of the firearm?

             15           A.   After I did the overall inspection, the next thing to do

             16           is disassemble and look for modifications and identify what

             17           has been done to the firearm.

             18                         To do that I had to remove the Glock switch that

             19           was on the back of the firearm slide and then I removed the

             20           slide from the firearm to look at the internal components.

             21           Q.   And during your inspection and examination did you

             22           compare the -- this Government Exhibit 18, the Glock model

             23           26 that you received, with a standard stock Glock model 26?

             24           A.   I did.    One of the things that is special about FATD is

             25           that we maintain a national firearms collection of



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                 1        approximately 12,000 to 15,000 firearms in our possession.

                 2                   So oftentimes we can take a firearm that we get

                 3        for classification and then go compare it to a standard

                 4        stock firearm that we received from the company and then we

                 5        can look -- we can identify what has been changed on it.

                 6                   In the case of this firearm, I went back to our

                 7        collection and I got a standard Glock 26 and I put them

                 8        side-by-side to look for modifications.         In doing so, the

                 9        obvious thing that came to my attention was the Glock switch

             10           on the back of the firearm.

             11           Q.   Generally based on your inspection and examination of

             12           this firearm, what kind of condition was it in?

             13           A.   It's in very good condition.      I would be honest to say

             14           that it is in better condition than the pistol I carry on a

             15           normal basis.

             16                      However, it does have some sort of residue on the

             17           internal components that appears to be commonly found in

             18           what we identify as gunshot residue.

             19                      My classification does not get into the chemical

             20           analysis of that gunshot residue but it does appear to be

             21           consistent with what we see frequently.

             22           Q.   Did you note whether the firearm had any rust?

             23           A.   I did not see any rust, corrosion, or debris inside this

             24           firearm by any means.    It is in good shape.

             25           Q.   No real wear and tear?



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                 1        A.   No real wear and tear.

                 2        Q.   No dirt, foreign material inside it?

                 3        A.   Not out of the ordinary dirt, no.

                 4        Q.   Did it appear like new?

                 5        A.   It appeared to be used but like new.             You could tell

                 6        that there are indications of firearm magazines being

                 7        inserted into it, so there are scratches and scuffs, but

                 8        nothing out of the ordinary for a typical firearm.

                 9                     MR. BEJAR:   May I approach?

             10                        THE COURT:   You may.

             11           BY MR. BEJAR:

             12           Q.   There's a binder of exhibits there in front of you.

             13                        Could you please turn to tabs 21, 22 and 22A.               And

             14           please look at those and let me know after you have done so.

             15                        (Witness reviews documents)

             16           A.   Okay, sir.

             17           Q.   Do you recognize what's in Government Exhibits 21, 22

             18           and 22A?

             19           A.   I do.   These are photographs of the firearm that I

             20           conducted an evaluation and classification on.

             21           Q.   And do they also show photos of comparison of the

             22           firearm you received with a stock Glock 26?

             23           A.   Yes, they do.   They are pictures that I took.             On the

             24           left is of the exhibit that was submitted to me and on the

             25           right is a picture of the firearm that I got out of our



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                 1        collection to compare them to.

                 2        Q.     And what about 22A, do you recognize that as part of

                 3        your work on this case?

                 4        A.     22A is a diagram of how a typical Glock switch works.

                 5                       The first page is a standard firearm, standard

                 6        Glock and how it is designed to function in a semi-automatic

                 7        configuration.      And then the second picture is once you have

                 8        a Glock switch installed how it functions.

                 9                       MR. BEJAR:   Government offers Exhibits 21, 22 and

             10           22A.

             11                          MS. ATWAL:   No objection, Your Honor.

             12                          THE COURT:   Those are received.

             13                          MR. BEJAR:   Your Honor, I'm going to publish some

             14           exhibits, if we could dim the lights, please.

             15                          THE COURT:   Okay.

             16           BY MR. BEJAR:

             17           Q.     Do you see Government Exhibit 21 on your monitor, sir?

             18           A.     I do.

             19           Q.     Can you tell us what we are looking at here?

             20           A.     The image on the left is the government exhibit that was

             21           submitted to me for classification.

             22                          The image on the right is the firearm out of our

             23           collection, a Glock 26 in standard semi-automatic

             24           configuration.

             25                          On the picture on the left there is a blue circle



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                 1        around the Glock switch installed on the back of the slide.

                 2        You can see it -- is this touchscreen?         It is.    Right here,

                 3        (indicating), looking up at the Glock switch on the back of

                 4        the firearm.

                 5        Q.   So you've put an arrow indicating where the photo has

                 6        the blue circle on the Glock switch; is that correct?

                 7        A.   Yes.

                 8        Q.   And the picture to the right is a standard Glock model

                 9        26 without a switch; is that correct?

             10           A.   That is correct.

             11           Q.   I'm going to show you page 3 of this exhibit.

             12                       This is page 3 of Exhibit 21; is that correct?

             13           A.   That is.

             14           Q.   So what are -- this is -- tell us what this is, page 3.

             15           A.   This is a view from the back of the firearm's frame

             16           without the slide attached.

             17                       Again, to remove the slide I had to remove the

             18           Glock switch off the back of it and then slide the slide

             19           forward, where I can now see the rearward side, rearward

             20           view of the firearm frame itself.

             21           Q.   And you put a blue circle there on what appears to be a

             22           notch.   Is that the frame of the firearm that you examined?

             23           A.   So the blue circle is showing a section of the frame

             24           that has been displaced.     This section of the frame is

             25           polymer and it has a metal insert on the inside of it that



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                 1        you can see, I assume in a later photograph.

                 2                    But this section is a polymer plastic that has to

                 3        be displaced for that Glock switch to be installed and

                 4        function.

                 5                    You can tell that it is -- likely been forcefully

                 6        done because that piece of plastic is still attached and it

                 7        wasn't done with a file or a screwdriver or clippers of some

                 8        sort to get that piece removed.       It looks like it was just

                 9        jammed shut in order to get that slide to close, allowing

             10           that firearm to function.

             11           Q.   So to be clear, this is where the part of the Glock

             12           switch that is installed on the firearm that you examined is

             13           inserted to and makes contact with the frame; is that right?

             14           A.   Yes.   This little notch would make clearance for the leg

             15           of that conversion device to push on one of the internal

             16           components which changes the function of that firearm to be

             17           an automatic machine gun.

             18           Q.   Is it common to when someone is installing a switch on a

             19           firearm that a modification like this has to be made?

             20           A.   It's very common.    Oftentimes we see it done with tools,

             21           or if it's not done with a tool, it is just forcefully put

             22           in there and you'll result in this chipping or this removal

             23           of the plastic just to get that piece installed properly.

             24                       Oftentimes firearms that have Glock switches on

             25           them have to be hand fit to that specific Glock switch



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                 1        because those Glock switches are not regulated by anybody.

                 2        They all have different specifications for manufacturing and

                 3        different tolerances.    With those different tolerances, take

                 4        -- it takes a firearm a different amount of plastic to be

                 5        removed to accept that conversion device installed.            So this

                 6        is very common for us to see.

                 7        Q.   And this is page 4 of Exhibit 21.       What do we see here?

                 8        A.   This is a view on the top of looking down onto the frame

                 9        where you can see the trigger mechanisms inside.

             10                        This is -- there's no additional parts in this

             11           that you would need to modify for the Glock switch to be

             12           installed.    However, that same notch that we were just

             13           looking at on the last page is right here (indicating) and

             14           it's very narrow.    I'm not even going to draw an arrow to it

             15           because you can't really tell.      Can you zoom in?

             16           Q.   Does that help?

             17           A.   That does help.

             18           Q.   So where is that notch that you were talking about?

             19           A.   On that last picture we were look ago the this section

             20           of plastic (indicating).     That notch that was removed in

             21           that last picture comes right through here (indicating) and

             22           would continue to approximately here (indicating).            That

             23           section has been removed of the plastic, allowing for the

             24           leg to be installed into this frame.

             25                        The lower picture that we're looking at is of the



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                 1        slide that was removed to see the internal components.              Back

                 2        here, this section, is where you would typically find the

                 3        Glock backplate or in this case it's been removed and the

                 4        machine gun conversion device, the Glock switch, was

                 5        installed in that section.

                 6        Q.   So in order to install the switch you have to remove

                 7        that backplate from a standard Glock in order to fit the

                 8        switch and sort of jam it in there?

                 9        A.   Yes, you do.

             10           Q.   I'm trying to get to page 2 of Exhibit 21.          There we go.

             11                      This is page 2 of Government Exhibit 21.           What do

             12           we see here?

             13           A.   Again, this is a comparison of the exhibit that I

             14           received for classification on the left, compared to the

             15           Glock 26 from our collection.

             16                      On the back section of the exhibit that we

             17           received, you can see the Glock switch installed here

             18           (indicating), here (indicating), and here (indicating), as

             19           opposed to just a different angle of the standard Glock

             20           switch, which you will find here (indicating), it's hard to

             21           draw with these arrows.    But on the standard Glock

             22           backplates they're flush with the slide and there's little

             23           groves that help you with the installation and removal of

             24           that backplate, but it is flush with the back of this slide.

             25           Q.   So I'm going to zoom in on this middle picture.           And can



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                 1        you just take your finger and circle the backplate on the

                 2        standard Glock that needs to be removed.

                 3        A.   (Indicating).

                 4        Q.   And then could you circle the switch in that same

                 5        position on the gun that you received.

                 6        A.   Yes.

                 7        Q.   And how is that backplate removed normally?

                 8        A.   When you slide to the rear, you need to have a punch or

                 9        a pin to depress a plunger on the inside of the slide and

             10           then you can use your thumb or a finger to slide that

             11           standard backplate down and it will take it off of the

             12           slide.

             13           Q.   Now we see in the gun with the switch, which is the gun

             14           you examined, it has something protruding.          Can you explain

             15           what that is.

             16           A.   The area to the left right here (indicating) is the

             17           selector switch.     In this case it's in a semi-automatic

             18           position because it is pushed on the right side, projecting

             19           that toggle switch or the selector switch to the left.

             20                       To put it into the automatic mode you would push

             21           onto that side where that arrow is, pushing it to the right

             22           and it would move the leg on the inside of the switch or on

             23           the bottom slide of the switch, making it go into the

             24           automatic configuration.

             25           Q.   Now showing you the first page of Government Exhibit 22.



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                 1        Could you, again, point out the switch.

                 2        A.   Yes.   In all three images it's zoomed in on the back of

                 3        that slide.

                 4        Q.   And now the selector switch, that bar that you

                 5        discussed, seems to be pushed to the other side; is that

                 6        correct?

                 7        A.   Yes, it's been pushed into the left, which would put the

                 8        leg in the automatic fire position.

                 9        Q.   So the -- when the sort of fatter part of the selector

             10           switch is protruding out to the left, that semi-automatic

             11           mode, and when the thinner part with the little wheel is on

             12           the right, that's fully automatic mode?

             13           A.   That's correct.

             14           Q.   What do we see here on page 2 of Government Exhibit 22?

             15           A.   This is a view of a comparison, again, from the bottom

             16           up, is where you're looking, the way you're oriented.

             17                       So you're looking at the bottom of the selector,

             18           I'm sorry, the bottom of the switch installed on this slide

             19           where you can see the housing, the selector switch, and then

             20           in this section here (indicating) is the leg that goes in

             21           there.   Can you clear that for me?

             22                       So from this view you can see that the leg is

             23           protruding out of the housing a little bit.          In the

             24           difference of tolerances you can also see that the leg is a

             25           little crooked.    Oftentimes this is because it is made by a



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                 1        cheap manufacturer or a bad quality that doesn't have

                 2        specific specifications made to have good quality

                 3        manufacturing products.

                 4                   If you look at the image on the right, you also

                 5        have a side angle of it.     You can actually see that the leg

                 6        is protruding up.    There's a section here (indicating) that

                 7        comes out of the housing.     That is the section that goes

                 8        through the firearm frame making it displace that plastic,

                 9        if it hasn't already -- if that plastic hasn't already been

             10           moved with a tool or a file.

             11           Q.   So that edge of the leg of the switch is what would have

             12           caused the notch in the frame; is that correct?

             13           A.   Yes, that is.

             14           Q.   What do we see here on page 3 of Government Exhibit 22.

             15           A.   On the left you have a view of a selector that's in the

             16           semi-automatic position and on the right you have a view of

             17           the selector switch that is in the automatic position.

             18                      If you notice between those two different

             19           pictures, there's a very small -- there's a very small

             20           difference between this line and this line.

             21                      The one on the right in the automatic position

             22           pushes that leg forward on the slide ever so slightly, which

             23           is enough to change the function of that firearm.

             24                      That difference is roughly the thickness of a zip

             25           tie, very small tolerances.        And because of those small



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                 1        changes that are occurring when you move that switch and the

                 2        bad tolerances of manufacturing, that's what oftentimes

                 3        makes this not work properly or as it was originally

                 4        designed.

                 5        Q.   So can you just zoom in, just draw a line on the actual

                 6        leg, just for the jury understand when you say the leg of

                 7        the switch what you're talking about.          Just draw a red line

                 8        right on the leg.

                 9        A.   This is the side of the leg (indicating) and then it

             10           comes across.   And I circled it.

             11           Q.   So you've circled the leg there, correct?

             12           A.   Yes.

             13           Q.   And, again, this picture that you just drew on the

             14           right, this is full automatic mode, correct?

             15           A.   Yes, it is.

             16           Q.   And then the picture on the left is semi-automatic mode.

             17           A.   Yes.

             18           Q.   And, again, the only difference is the little gap that

             19           we see at the bottom with the leg moving forward slightly.

             20           A.   That is the difference.        When you move that selector

             21           switch from one side to the other, it changes the distance

             22           that that leg travels forward.

             23           Q.   Is it common for that selector switch to move with

             24           vibrations from when it's being fired?           Can it go in and out

             25           of semi-automatic and full automatic mode?



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                 1        A.   It's very common for that selector switch to walk or

                 2        shift during fire from the vibrations and the movement of

                 3        the firearm.   Because it is a mechanical action, oftentimes

                 4        it just slips.

                 5                   And, again, being poor quality, the selector

                 6        switch will oftentimes get worn out and it just will allow

                 7        you to roll from one side to the other.         Very frequently it

                 8        will move during firing.

                 9        Q.   And so when you're in -- if you think you're in

             10           semi-automatic mode it can still fire in fully automatic

             11           mode if the switch not -- is just off by a little bit; is

             12           that fair to say?

             13           A.   That is very fair to say.

             14                      If you look at the picture on the right, in that

             15           gap here (indicating), there is a line that goes -- there,

             16           it's pointing to on the left.

             17                      There's a very small line there.         That is a

             18           probably three thousandths of a inch lip on the selector

             19           switch that is meant to hold that switch in place, but it

             20           gets worn out very frequently and that's the only thing

             21           preventing that selector from shifting, so it will very

             22           frequently fail.    And in this case, you can even see that it

             23           is worn out a little bit because of the coloration change on

             24           that selector switch.

             25           Q.   As part of your examination do you also remove the



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                 1        switch and inspect it as well?

                 2        A.   I do.    We make sure that the components are documented

                 3        before I remove the Glock switch, photographed, and if

                 4        there's anything out of the ordinary I annotate that, then I

                 5        remove it and look at the conversion device itself to look

                 6        at its quality and if there's any defect on it.

                 7        Q.   What do we see here on page 4 of Government Exhibit 22?

                 8        A.   This is the Glock switch that has been removed from the

                 9        exhibit.     You can see it's approximately one inch by one

             10           inch from the longest section of the leg, all the way

             11           through the housing, and then the selector switch protruding

             12           out the side also one inch.

             13           Q.   And, again, just to orient the jury, can you put a red

             14           line on where the leg is?

             15           A.   Yes, the leg is this section right through here

             16           (indicating).

             17           Q.   And then when you say the housing, can you sort of

             18           indicate what that is by perhaps circling it.

             19           A.   That's the housing which holds the leg in place and then

             20           the selector switch goes through the housing, all the way

             21           through, and can be switched from semi-automatic to

             22           automatic configuration.

             23           Q.   And this is page 5 of the Government Exhibit 22.           What

             24           do we see here?

             25           A.   This is, again, the Glock switch that has been removed,



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                 1        and it's compared to a patent that was filed in the United

                 2        States by a company other than Glock saying that this is a

                 3        fire select system.     It is in the orientation as the patent

                 4        just to show that it is similar to that same type of patent.

                 5                    In the pictures in the top you can see that,

                 6        again, selector switch is currently centered instead of from

                 7        one side to the other.

                 8        Q.   And what does that indicate that it's centered?           It's

                 9        not pushed into fully automatic mode, it's not pushed into

             10           semi-automatic mode; is that right?

             11           A.   That is correct.

             12           Q.   And what does that indicate to you?

             13           A.   More than likely it will still function as an automatic

             14           as a machine gun because it's still on the thicker section

             15           of that selector switch.     But with it -- without being one

             16           side or the other, it's hard to tell what configuration it

             17           would fire until you squeeze a trigger and fire it.

             18           Q.   And this is indicative of what you had testified earlier

             19           about the cheap way that these are manufactured and they can

             20           slide in and out; is that right?

             21           A.   Yes.

             22           Q.   So in looking at all of these comparison photos that

             23           we've reviewed, in your training and experience, is the

             24           switch prominent enough that someone who's familiar with

             25           Glock firearms or even firearms in general would notice a



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                 1        difference between a regular Glock and one with a switch

                 2        installed?

                 3        A.   It is my opinion as the expert for identifying is that,

                 4        yes, if you have handled or viewed firearms lately, you

                 5        would probably recognize that something is different on this

                 6        more than just out of place.

                 7                     The Glock firearm is the most common firearm in

                 8        the United States right now.       It is by far the most popular

                 9        handgun in the United States.      And if you're familiar with a

             10           Glock in a standard configuration, you would notice that

             11           this is not in that same thing, the same identifying

             12           characteristics on that slide.

             13           Q.   So after you field stripped it and took these comparison

             14           photos, what did you do next in your examination procedure?

             15           A.   I resembled it and I function checked it at my work

             16           area.

             17           Q.   And what is a function check?

             18           A.   A function check is making sure that the firearm

             19           operates and cycles as it should without having any

             20           energetic component like a bullet installed in it.            So it's

             21           still safe for handling.     It's a mechanical check of the

             22           firearm.

             23           Q.   Did you do this mechanical function check with the

             24           selector switch in both the semi-automatic and full

             25           automatic position?



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                 1        A.   I did.    And in both instances it functioned check as a

                 2        machine gun.

                 3        Q.   So what does that mean it functioned checked as a

                 4        machine gun?

                 5        A.   As I was function checking it trying to identify how the

                 6        firearm would likely shoot, it was not resetting the trigger

                 7        properly so I could identify that something was not in the

                 8        standard configuration of a Glock in a semi-automatic

                 9        configuration.    Because it was function checking as a

             10           machine gun on either side, I assumed that it would not be

             11           able to function as a semi-automatic unless something else

             12           was altered on it.

             13           Q.   So the function check indicated that when you pulled the

             14           trigger it would have continuously fired without reloading?

             15           A.   Yes.   Without resetting that trigger, the firearm would

             16           continue to fire as a machine gun until either you released

             17           the trigger or you ran out of ammunition.

             18           Q.   So that -- even though it was in semi-automatic mode it

             19           still functioned -- function checked as a machine gun; is

             20           that right?

             21           A.   It manually function checked as a machine gun, correct.

             22           Q.   Can you just briefly explain how, we've seen the switch,

             23           we've seen the leg that you've talked about, how does that

             24           switch interact with, I believe you said the trigger bar

             25           inside the gun, just generally, to make it fully work as a



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                 1        machine gun?

                 2        A.   So to understand how it works as a machine gun it's

                 3        easiest to understand how it works as a semi-automatic

                 4        first.

                 5                   In a standard Glock you would have a trigger bar

                 6        that is this section here (indicating).

                 7                   MR. BEJAR:   So just for the record, I'm showing

                 8        Government Exhibit 22A.

                 9                   THE WITNESS:   This trigger bar is interacting with

             10           the firing pin, which is just below the line I just drew.

             11                      There's a blue circle where you can see the firing

             12           pin is being held in place by that trigger bar.

             13                      When you squeeze the trigger, that trigger bar

             14           moves rearward and then downward, which releases that firing

             15           pin and allows it to go forward, hitting the ammunition,

             16           causing the bullet to come out the end of the barrel.

             17                      In a standard Glock, the energy of the bullet

             18           would cycle that slide and push that slide rearward pass the

             19           point of that trigger bar lip, which is called a cruciform,

             20           and it would catch the action of the trigger or the firing

             21           pin here (indicating) causing it to stop cycling as a

             22           machine gun and it would stop the cycle of fire, resetting

             23           the trigger.

             24           BY MR. BEJAR:

             25           Q.   Which would then only allow you to shoot one bullet from



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                 1        the single pull of a trigger?

                 2        A.   That is correct.

                 3        Q.   And then page 2 of 22A.

                 4                   So is this showing how it interacts with the

                 5        trigger bar when the switch is installed?

                 6        A.   This is an image of the Glock switch being installed and

                 7        the image that's zoomed in right now you can see that it's

                 8        in the semi-automatic configuration because that leg, which

                 9        is this triangular section here, is not contacting that

             10           trigger bar.   Can you clear that, please.

             11                      Once you shift that selector switch into the

             12           automatic mode it pushes that leg forward which then

             13           contacts that trigger bar seer section and pushes down that

             14           trigger bar.   When that trigger bar is pushed down and out

             15           of the way, there's no way for that trigger bar to catch the

             16           firing pin and reset it, stopping from firing.

             17                      In order for it to continue shooting in the

             18           semi-automatic configuration, you would need to catch that

             19           firing pin and stop.

             20                      And the fact that that leg is now pushing the

             21           trigger bar down and out of the way, it will continue to

             22           fire until you release the trigger or until you're out of

             23           ammunition.

             24           Q.   By the single pull of a trigger.

             25           A.   By the single pull of a trigger.



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                 1        Q.   So after you performed this manual function test-fire,

                 2        where you found it functioned as a machine gun in both

                 3        semi-automatic and automatic mode, what did you do?            Did you

                 4        actually test-fire the gun?

                 5        A.   Yes, at that point normally in my inspection or

                 6        classification I have already made sure that it's safe to

                 7        handle, so I would take it into the range and shoot it, and

                 8        that's exactly what I did.

                 9                    We have a range in our office located in

             10           Martinsburg, West Virginia where we can shoot it onsite with

             11           a standard commercially bought ammunition we have.            There's

             12           nothing specific about the ammunition, nothing specific,

             13           that it's for the ATF testing purposes.

             14           Q.   Could you briefly describe what you did to test-fire it

             15           and what you found.

             16           A.   Yes.   Following our standard operation procedures for

             17           test-fire, we always start out with just one bullet to make

             18           sure that the firearm functions.       So I installed a magazine

             19           with one round and cycled it so it loaded that round into

             20           the chamber.

             21                       I squeezed the trigger and it did expel the

             22           projectile by action of explosives showing that this exhibit

             23           is a firearm at this point and it is capable of shooting.

             24           Q.   And then did you load it with additional rounds to

             25           test-fire it in either the semi-automatic or the full



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                 1        automatic mode?

                 2        A.   I did.    After determining that it is capable of

                 3        discharging a firearm, that's the next step of our

                 4        procedures, we load two rounds of ammunition to the magazine

                 5        and then load the magazine into the firearm.

                 6                      I had the selector switch set to semiautomatic

                 7        fire and when I pulled the trigger it fired both rounds

                 8        separately with independent pulls of the trigger, so two

                 9        pulls, two rounds per shot, not as an automatic firearm.

             10                         At this point I reloaded a second magazine again

             11           with two rounds installed on that magazine and I moved the

             12           selector switch over to the automatic fire position.

             13                         When I shot at the first round fired and a second

             14           round did not.     I noticed that the selector switch had

             15           shifted during firing and it was slightly out of contact

             16           with the full automatic position.

             17                         I also noticed, as I cleared the weapon to make

             18           sure it was safe to handle again, I noticed that there was

             19           indication on the ammunition saying that the primer had been

             20           struck by the firing pin.      And this is common that the

             21           firing pin will still strike the ammunition, it's just very

             22           softly touching it, so it wasn't the same impact as the full

             23           force of it being with the firing pin smashing into the back

             24           of the primer.

             25                         That oftentimes can be caused by the selector



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                 1        switch shifting during firing, or ammunition being separate

                 2        loads, different tolerances of powder and energy in that

                 3        ammunition, and it can also be caused by the shooter's grip

                 4        and how they're manipulating the firearm.

                 5        Q.     Were you able to get this Government Exhibit 18 to

                 6        test-fire and have it shoot in full automatic mode?

                 7        A.     Yes.   I took that selector switch and pushed it more to

                 8        the right side, again, all the way into the automatic

                 9        position and loaded up a magazine of three rounds at this

             10           point.    And as I squeezed the trigger it did fire all three

             11           rounds with a single function and trigger automatically.

             12           Q.     So based on your training and experience, and your

             13           examination of the firearm, what did you conclude?

             14           A.     So I concluded that exhibit -- the exhibit that was

             15           given to me, with the Glock switch installed did function

             16           and shoot automatically as a machine gun.

             17           Q.     And it meets the federal definition of a machine gun?

             18           A.     Yes, it does, based off of the fact that it shot more

             19           than one round automatically without manually reloading by a

             20           single function of the trigger, it does qualify as a machine

             21           gun.

             22           Q.     What about the switch itself?     What does that qualify

             23           as?

             24           A.     The switch itself is also a machine gun.        A second --

             25           actually the third section of the machine gun definition



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                1        allows for a combination of parts designed and intended to

                2        convert a firearm into a machine gun as a machine gun

                3        itself.

                4                      So the conversion device, in this case a Glock

                5        switch, is a combination of parts designing to convert a

                6        machine -- a firearm into a machine gun and therefore it is

                7        a machine gun in and of itself.

                8        Q.   You authored and submitted a technical report based on

                9        your inspection, examination, findings and conclusions?

               10        A.   I did.    I summarized all of my findings and I submitted

               11        that to the ATF agent that was involved.

               12        Q.   And the exhibits that we have we've reviewed here were

               13        part of your technical report?

               14        A.   Yes.

               15        Q.   And was that the end of the your examination of the

               16        firearm?

               17        A.   Yes.   At that point I ship my report and the evidence

               18        back to the agent.

               19                      MR. BEJAR:   May I have a moment, Your Honor?

               20                      THE COURT:   You may.

               21                      (Counsel confer)

               22                      MR. BEJAR:   No further questions.

               23                      THE COURT:   You may inquire, if you wish, counsel.

               24

               25



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                 1                                  CROSS-EXAMINATION

                 2        BY MS. ATWAL:

                 3        Q.   Good morning, Mr. Ford [sic] -- or Mr. Evans, I'm sorry.

                 4        Pardon me.    I apologize.

                 5        A.   No problem.    Mr. Evans.

                 6        Q.   Thank you.    I apologize.

                 7                     Mr. Evans, I just wanted to make sure, you

                 8        received this exhibit on January 20th of 2023?

                 9        A.   I believe that I took custody of it on January 23rd.              I

                10        would want to double check the box for my signature and date

                11        on that.

                12                     MS. ATWAL:   Okay.      Your Honor, may I approach?

                13                     THE COURT:   You may.

                14                     (Counsel confer)

                15                     THE WITNESS:    Yes, so on the box itself it shows

                16        the property custody where I received -- I personally

                17        received the exhibit for classification.

                18                     On my report it does indicate that that firearm,

                19        that exhibit was received by the FATD office on January of

                20        2023.   I did personally not receive it from our evidence

                21        custodian until three days later.

                22        Q.   Of this year?

                23        A.   Of this year.

                24        Q.   Of this year?

                25        A.   Yes, of 2023.



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                 1                  MS. ATWAL:     Thank you.    I have nothing further.

                 2        Thank you, Your Honor.

                 3                  THE COURT:     Anything further, counsel?

                 4                  MR. BEJAR:     Nothing further.

                 5                  THE COURT:     You may step down, sir.        Thank you.

                 6                  THE WITNESS:    Thank you, sir.

                 7                  (Testimony concluded at 11:23 a.m.)

                 8                    *                  *                    *

                 9                            REPORTER'S CERTIFICATE

                10

                11
                                        I, Lynne M. Krenz, do certify the foregoing
                12        pages of typewritten material constitute a full, true and
                          correct transcript of the digital recording, as they purport
                13        to contain, of the proceedings recorded at the time and
                          place hereinbefore mentioned.
                14

                15                            /s/Lynne M. Krenz
                                              Lynne M. Krenz, RMR, CRR, CRC
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